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                         UNITED STATES DISTRICT COURT FOR THE
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

                             Case Number: 16-60637-CIV-MORENO

 HEIDER DIAS,

          Plaintiff,
 vs.

 WESTLAKE SERVICES, LLC d/b/a WEST
 LAKE FINANCIAL,

       Defendant.
 _______________________________________/

                                  NOTICE OF SETTLEMENT

          Plaintiff, Heider Dias, by and through his undersigned counsel and pursuant to the Local

 Rules for the Southern District of Florida, hereby notifies this Court that this matter has been

 resolved. The parties have been in communication and were able to settle the case without the

 Court’s involvement.

          DATED this 6th day of May, 2016.

                                                  Respectfully Submitted,

                                                   /s/ JORDAN A. SHAW
                                                   Jordan A. Shaw, Esq. (FBN 111771)
                                                   Zebersky Payne, LLP
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                                   CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this 6th         day of May, 2016, I electronically filed the

 foregoing with the Clerk of the Court by using the CM/ECF system which will send a notice of

 electronic filing to all counsel of record.


                                               /s/ JORDAN SHAW
                                               Jordan Shaw, Esq.




 [1524576/1]
